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                                        UNITED STATES DISTRICT COURT
                                          DISTRICT OF RHODE ISLAND

 EDITH FUOG, individually and on behalf of                       *
 those similarly situated,                                       *
                                                                 *
                       Plaintiff,                                *
 vs.                                                             *
                                                                 *   CLASS ACTION
                                                                 *
 CVS PHARMACY, INC.,                                             *
 CAREMARK PHC, LLC,                                              *
                                                                 *   Case No. 1:20-cv-00337
                       Defendants.                               *
                                                                 *
 *     * *         *   *   *   *    *   *   *   *   *   *    *   *

                           SECOND AMENDED CLASS ACTION COMPLAINT

              Plaintiff Edith Fuog, by and through her undersigned counsel, brings this class action

 lawsuit for violations of the Americans with Disabilities Act, 42 U.S.C. §12101, et seq., the

 Rehabilitation Act of 1973, 29 U.S.C. §701, et seq., and the Affordable Care Act, 42 U.S.C.

 §18116, et seq. In support, Plaintiff alleges the following:

                                                            I.

                                            NATURE OF THE ACTION

              1.       This is a putative class action brought through Fed. R. Civ. P. 23. It is brought by

 an individual on her own behalf and on behalf of all others similarly situated, against one of the

 country’s largest pharmacy chains owned, operated and/or controlled by CVS Pharmacy, Inc.

 and/or Caremark PHC, LLC (collectively “CVS” or “Defendants”).

              2.       This class action seeks to recover from CVS damages and injunctive relief for its

 corporate wide discriminatory practices in refusing to fill, without a legitimate basis, valid and

 legal prescriptions for opioid medication of Plaintiff and the Class Members, protected individuals

 under federal law.



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              3.   More specifically, Plaintiff alleges, and intends to prove, that persons with

 prescriptions exceeding the dose and duration thresholds set forth in the Guideline for Prescribing

 Opioids issued by the Centers for Disease Control (“CDC”) on or about March 15, 2016 (the

 “CDC Guideline” or “Guideline”) are not given such prescriptions by their treating physicians

 unless they suffer intractable pain from underlying conditions which render them disabled within

 the meaning of federal law, a correlation recognized by several studies as set forth herein.

 Alternately, the majority of such persons are disabled within the meaning of federal law.

              4.   The initial, and primary, responsibility for issuing a valid prescription is with the

 treating physician. Before prescribing opioids for any patient, the treating physician conducts and

 documents a complete medical history & physical examination of the patient. The examination

 includes a review and analysis of the condition for which the treatment is sought and its cause, the

 nature and intensity of the patient’s pain, current and past treatments for the condition and pain,

 underlying or coexisting diseases or conditions and a review of medical records and previous

 diagnostic studies. The physician then develops a treatment plan and treatment goals, including

 curing, if possible, the underlying medical condition, decreasing pain and increasing function,

 improving pain-associated effects (e.g., sleeping issues, depression, anxiety, etc.), screen for

 treatment side effects, and avoiding unnecessary or excessive medication. The plan is evaluated

 and updated throughout the course of treatment so that it continues to be appropriate and realistic.

              5.   When the prescription is presented to a pharmacist, the pharmacist is to ensure that

 the prescription is not a forgery and was issued by a duly licensed and DEA registered prescriber.

 If the pharmacist has questions about the medical purpose of the prescription, the pharmacist is to

 consult with the prescriber to confirm the reason for the prescription and that it was intended to be

 issued to the person presenting the prescription for the drug, dose and duration stated in the



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 prescription. The pharmacist, however, may not substitute his or her opinion for the medical

 judgment of the doctor and re-diagnose the patient.

              6.    However, patients, such as Plaintiff, presenting these prescriptions at pharmacies

 owned, controlled and/or operated by CVS are profiled as drug abusers. Rather than take the steps

 necessary to confirm the validity of the prescriptions, CVS, through its policy, practice, procedures

 and training, encourage and incentivize its pharmacists to not fill the prescriptions in contrast to

 the way patients with non-opioid prescriptions or opioid prescriptions which do not exceed the

 CDC Guideline dose and duration thresholds are treated. As such, CVS discriminated against

 Plaintiff, and others similarly situated, on the basis of disability and deny them meaningful access

 to their pharmacy goods and services.

                                                    II.

                                             THE PARTIES

              7.    Plaintiff Edith Fuog is an individual residing in Riverview, Florida. Ms. Fuog

 suffers from numerous diseases resulting in her suffering from chronic pain.

              8.    Defendant CVS Pharmacy, Inc. is a Rhode Island corporation with its principal

 place of business at One CVS Drive, Woonsocket, Rhode Island 02895. It can be served through

 its registered agent for process, CT Corporation, System, 450 Veterans Memorial Parkway, Suite

 7A, East Providence, R.I. 02914.

              9.    Defendant Caremark PHC, LLC is a Delaware limited liability company with its

 principal place of business at One CVS Drive, Woonsocket, Rhode Island 02895. It can be served

 through its registered agent for process, CT Corporation, System, 450 Veterans Memorial

 Parkway, Suite 7A, East Providence, R.I. 02914.

              10.   Defendants are jointly referred to as “CVS” or “Defendants.”



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              11.   CVS, through its various DEA registered subsidiaries and affiliated entities,

 conducts business as a licensed wholesale distributor and operates retail stores throughout the

 United States, including in Rhode Island, that dispense and sell prescription medicines, including

 opioids. Caremark PHC provides prescription benefit management services.

                                                    III.

                                     JURISDICTION AND VENUE

              12.   This Court maintains jurisdiction over the parties to this action. Defendants are

 citizens of the State of Rhode Island, with their principal place of business located within this

 District. The members of the Class are resident citizens of Rhode Island as well as other states

 where Defendants conduct business.

              13.   This Court has subject matter jurisdiction over this action. Federal question

 jurisdiction exists based on the assertion of claims for violations of the Americans with

 Disabilities Act, 42 U.S.C. §12101, et seq., the Rehabilitation Act of 1973, 29 U.S.C. §701, et seq.,

 and the Affordable Care Act, 42 U.S.C. §18116, et seq.

              14.   This Court also has jurisdiction over this matter pursuant to the Class Action

 Fairness Act of 2005 (“CAFA”), 28 U.S.C. §1332(d). CAFA’s requirements are satisfied in that

 (1) the members of the Class exceed 100; (2) the citizenship of at least one proposed Class member

 is different from that of the Defendants; and (3) the matter in controversy, after aggregating the

 claims of the proposed Class Members, exceeds $5,000,000.00, exclusive of interest and costs.

              15.   This Court has general diversity jurisdiction pursuant to 28 U.S.C. §1332(a)(1)

 because the amount in controversy exceeds $75,000, exclusive of interest and costs, and there is

 complete diversity between the named Plaintiff and the Defendants.

              16.   Additionally, this Court has jurisdiction pursuant to 28 U.S.C. §1343(a)(4) in that


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 this action seeks to recover damages or to secure equitable relief under an Act of Congress

 providing for the protection of the Plaintiff’s and the Class Members’ civil rights.

              17.    Venue is proper in this District under 28 U.S.C. §1391.

                                                        IV.

                                     CLASS ACTION ALLEGATIONS

              18.    Plaintiff brings this action on behalf of herself and all others similarly situated pursuant

 to Rule 23(a), 23(b)(2) and 23(b)(3) of the Federal Rules of Civil Procedure and is a member of, and

 seeks to represent, a class of persons defined as:

              All persons residing in the United States suffering from a disabling medical
              condition for which they were and are issued valid prescriptions for opioid
              medication exceeding 90 MME (Morphine Milligram Equivalent) and 7 days
              duration by a licensed medical provider as part of medical treatment during the
              period of March 15, 2016 through the present (collectively referred to as the
              “Class”).

              Excluded from the Class are:

              a. The officers and directors of any Defendant and their immediate family;
              b. Any judge or judicial personnel assigned to this case and their immediate
                 family;
              c. Any legal representative, successor or assignee of any excluded person or
                 entity.

              Numerosity of the Class (Fed. R. Civ. P. 23(a)(1))

              19.    The members of the national putative class are so numerous that joinder of all

 members is impracticable. Plaintiff estimates the number of Class Members to be in the tens of

 thousands or more similarly situated individuals nationwide.

              20.    The Class Members are identifiable using methods of assessment and/or records

 maintained in the ordinary course of business by the Defendants.

              21.    Notice may be provided to the Class Members by publication, first-class mail

 and/or other means.

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              Commonality (Fed. R. Civ. P. 23(a)(2))

              22.    Common questions of law and fact exist as to all Class Members and predominate

 over questions affecting individual Class Members. Among the questions of law and fact common

 to the putative class are:

              a. Whether Defendants improperly refused to fill the Class’s legitimate
                 prescriptions for opioid medication;

              b. Whether Defendants implemented express and/or implicit state-wide and/or
                 national policies regarding the filling of opioid prescriptions which misinterpret
                 and/or misapply applicable guidelines and laws;

              c. Whether Defendants implemented or created state-wide and/or national
                 databases and/or used data analytical tools as part of determining whether to fill
                 the Class’s opioid prescriptions;

              d. Whether Defendants “profiled” persons presenting prescriptions for opioid pain
                 medication on a state-wide and/or national basis;

              e. Whether Defendants’ express and/or implicit policies regarding the filling of
                 prescriptions for opioid medication interfere with the Class’s relationship with
                 their physicians;

              f. Whether Defendants’ express and/or implicit policies regarding the filling of
                 prescriptions for opioid medication impose unnecessary requirements that
                 increase the cost and expense to the Class;

              g. Whether Defendants’ express and/or implicit policies, resulting in the refusal to
                 fill the Class’s opioid prescriptions violate the ADA and/or Section 504 of the
                 Rehabilitation Act; and

              h. Whether Defendants’ express and/or implicit policies, resulting in the refusal to
                 fill Plaintiffs opioid prescriptions violate the Anti-Discrimination provisions of
                 the ACA.

              23.    Defendants are expected to raise common defenses to these claims,

 including denying that their actions violated the law.




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              Typicality (Fed. R. Civ. P. 23(a)(3))

              24.    The claims of the representative Plaintiff are typical of the claims of the Class.

 Furthermore, the factual bases of Defendants' misconduct are common to all Class Members and

 represent a common thread of misconduct resulting in injury to all members of the Class. Plaintiff

 has been damaged by the same wrongful conduct by Defendants and suffered injuries similar in

 kind and degree to the injuries suffered by all putative class members. Plaintiff makes the same

 claims and seeks the same relief for herself and for all Class Members.

              Adequacy of Representation (Fed. R. Civ. P. 23(a)(4))

              25.    Plaintiff will fairly and adequately represent and protect the interests of the Class.

 Plaintiff has retained counsel with substantial experience in prosecuting complex class actions.

 Neither Plaintiff nor her Counsel have interests adverse to those of the Class.

              Superiority of Class Action (Fed. R. Civ. P. 23(b)(2))

              26.    Absent class treatment, Plaintiff and Class Members will continue to suffer harm as a

 result of Defendants' unlawful and wrongful conduct. A class action is superior to all other available

 methods for the fair and efficient adjudication of this controversy. Without a class action, individual

 Class Members would face burdensome litigation expenses, deterring them from bringing suit or

 adequately protecting their rights. Because of the ratio of the economic value of the individual Class

 Members' claims in comparison to the high litigation costs in complex cases such as this, few could

 likely seek their rightful legal recourse. Absent a class action, Class Members will continue to incur

 harm without remedy.

       Superiority of Class Action (Fed. R. Civ. P. 23(b)(3))

              27.    Proceeding on a class wide basis is a superior method for the fair and efficient

 adjudication of the controversy because class treatment will permit a large number of similarly



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 situated persons to prosecute their common claims in a single forum simultaneously, efficiently,

 and without the unnecessary duplication of effort, judicial resources, and expenses that individual

 actions would entail. Class treatment will allow Class Members to seek redress for injuries that

 would not be practical to pursue individually because the damages suffered by the individual

 members of the putative class is relatively small compared to the burden and expense of individual

 litigation of their claims against the Defendants. These benefits substantially outweigh any

 difficulties that could arise out of class treatment.

              28.    Moreover, prosecuting separate actions by individual Class Members would create

 a risk of:

              (A) inconsistent or varying adjudications with respect to individual Class Members
              that would establish incompatible standards of conduct for the Defendants; and/or
              (B) adjudications with respect to individual Class Members that, as a practical
              matter, would be dispositive of the interests of the other members not parties to the
              individual adjudications or would substantially impair or impede their ability to
              protect their interests.

              29.      Plaintiff knows of no difficulty that will arise in the management of this litigation

 that would preclude its maintenance as a class action.

              30.    Finally, Defendants have acted or refused to act on grounds that apply generally to

 the class, so that final injunctive relief or corresponding declaratory relief is appropriate respecting

 the class as a whole.

                                                       V.

                                               BACKGROUND

              31.    Following publicity about a national problem with opioid abuse, numerous states,

 cities and municipalities filed lawsuits against manufacturers, wholesalers and dispensers of

 opioids alleging that aggressive and misleading marketing campaigns which began in the 1980s

 and 1990s created an “enormous untapped market” of patients with “everyday aches and pains”

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 for opioid medication. These suits, and enforcement actions by agencies, such as the Department

 of Justice and Drug Enforcement Agency, also alleged that various pharmacy defendants had

 inadequate policies and procedures in place to ensure that prescriptions they filled for opioids were

 valid prescriptions for legitimate medical purposes.

              32.   In response, the pharmacy companies began an overbroad campaign to protect

 themselves against potential liability. To this end, pharmacy companies, including Defendants,

 swung the pendulum too far in the other direction and implemented policies, practices and

 procedures arbitrarily restricting access to opioid medication dispensed by their retail pharmacy

 outlets, even when presented with valid prescriptions.        These policies go too far and are

 deliberately indifferent to the medical needs and rights of patients with appropriate and valid

 prescriptions for such medication. Many disabled innocent and legitimate patients have been

 denied access to necessary medication, arbitrarily profiled and treated as criminals and/or drug

 addicts and forced to incur unnecessary additional expenses to obtain opioid medication prescribed

 for legitimate medical needs as determined by their treating medical providers, all while suffering

 from debilitating pain.

              33.   In 2010, the CDC began developing a guideline to provide "better clinician

 guidance on opioid prescribing” and on or about March 15, 2016 issued its Guideline for

 Prescribing Opioids for Chronic Pain. The CDC Guideline was intended as a “recommendation”

 for patients starting opioid therapy and specifically did not apply to cancer treatment, palliative

 care, and end-of-life care. Additionally, the Guideline was directed only to clinicians and not

 pharmacists, as the Guideline dealt with the scope of treatment for the underlying medical

 condition; something for which pharmacists have no training.           Of particular relevance are

 recommendations 5 and 6, which provide:



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               5. When opioids are started, clinicians should prescribe the lowest effective
               dosage. Clinicians should use caution when prescribing opioids at any dosage,
               should carefully reassess evidence of individual benefits and risks when
               considering increasing dosage to ≥50 morphine milligram equivalents (MME)/day,
               and should avoid increasing dosage to ≥90 MME/day or carefully justify a decision
               to titrate dosage to ≥90 MME/day.

               6. Long-term opioid use often begins with treatment of acute pain. When opioids
               are used for acute pain, clinicians should prescribe the lowest effective dose of
               immediate-release opioids and should prescribe no greater quantity than needed for
               the expected duration of pain severe enough to require opioids. Three days or less
               will often be sufficient; more than seven days will rarely be needed.1

               34.    Instead of understanding and developing policies that took into consideration the

  clear distinction the CDC was making for the benefit of physicians between acute and long-term

  pain, Defendants implemented policies and procedures that adopted and used the CDC Guideline

  dosage and duration thresholds as fixed limits and a means to refuse to fill legitimate opioid

  prescriptions as written. The result is twofold: (1) Defendants are injecting themselves into the

  doctor-patient relationship and are now de facto practicing medicine, and (2) Edith Fuog and

  similarly situated individuals of the Class are “profiled” and subjected to discriminatory practices

  which restrict their access to lawfully prescribed medication they need to survive. The actions of

  the Defendants and other pharmacies, utilizing the guise of a legitimate gatekeeper function, is

  nothing more than pretextual discriminatory practices which have burdened the process of filling

  valid prescriptions for opioids to such an extreme that Edith Fuog and other similarly situated

  disabled individuals are denied meaningful access to their rightful medical treatment.

               35.    Seeing the unnecessary pain being thrust upon disabled individuals suffering from

  high impact chronic pain, the American Medical Association (“AMA”) recognized that

  pharmacies were inappropriately using the CDC Guideline. At its 2018 Annual Meeting, the AMA

  House of Delegates referred the following to its Board of Trustees:


  1
        https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.

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               [T]hat our AMA actively continue to communicate and engage with the nation's
               largest pharmacy chains, pharmacy benefit managers, National Association of
               Insurance Commissioners, Federation of State Medical Boards, and National
               Association of Boards of Pharmacy in opposition to communications being sent to
               physicians that include a blanket proscription against filing prescriptions for opioids
               that exceed numerical thresholds without taking into account the diagnosis and
               previous response to treatment for a patient and any clinical nuances that would
               support such prescribing as falling within standards of good quality patient care.2

               36.    In 2019, the AMA Board of Trustees issued Report 22-A-193 in response, which

  provides in relevant part:

               Health insurance companies, national pharmacy chains and pharmacy benefit
               management companies (PBMs) all have - to varying degrees - implemented their
               own policies governing physician prescribing of controlled substances as well as
               patients' abilities to have a controlled substance prescription dispensed to them. The
               result of this type of quasi-regulation is incredibly difficult to quantify on a large-
               scale basis due to the lack of transparency in the public sphere, but the AMA and
               many medical societies continue to receive concerns from physicians and patients
               as to the disruptive nature of health plan, pharmacy chain or PBM interference in
               the patient-physician relationship.

                                                      *   *    *

               . . . [N]ational pharmacy chains, health insurance companies and PBMs have
               implemented their own restrictive opioid prescribing policies. This report will not
               detail every iteration and difference between the policies except to say that most of
               the policies are some variation of the "CDC Guideline for Prescribing Opioids for
               Chronic Pain - United States, 2016" (the CDC Guideline). In the CDC Guideline's
               introduction, CDC stated:

                      [T]he recommendations in the guideline are voluntary, rather than
                      prescriptive standards. They are based on emerging evidence,
                      including observational studies or randomized clinical trials with
                      notable limitations. Clinicians should consider the circumstances
                      and unique needs of each patient when providing care.

               Yet, the CDC Guideline goes on to make two recommendations that appear in nearly
               all the pharmacy, payer and PBM policies:

                      [Recommendation] 5. When opioids are started, clinicians should
                      prescribe the lowest effective dosage. Clinicians should use caution
                      when prescribing opioids at any dosage, should carefully reassess

  2
        https://www.ama-assn.org/system/files/2018-11/i18-refcomm-b-annotated.pdf, pp. 24-5.
  3
        https://www.ama-assn.org/system/files/2019-08/a19-bot-reports.pdf, pp. 153-5.

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                      evidence of individual benefits and risks when considering
                      increasing dosage to > 50 morphine milligram equivalents
                      (MME)/day, and should avoid increasing dosage to > 90 MME/day
                      or carefully justify a decision to titrate dosage to > 90 MME/day.

                      [Recommendation] 6. Long-term opioid use often begins with
                      treatment of acute pain. When opioids are used for acute pain,
                      clinicians should prescribe the lowest effective dose of immediate-
                      release opioids and should prescribe no greater quantity than needed
                      for the expected duration of pain severe enough to require opioids.
                      Three days or less will often be sufficient; more than seven days will
                      rarely be needed.

               . . . It is important to note that CDC Guideline Recommendations 5 and 6 were
               intended guidelines for acute pain episodes, not a hard threshold, and not
               intended for chronic pain patients.
                                                     * * *

               At the same time, multiple national pharmacy chains implemented some variation of
               the CDC Guideline as their policy - a move the AMA warned would occur.

               37.    In addition, most of the CDC Guideline is based on “type 4 evidence,” which the

  CDC defined as, “clinical experience and observations, observational studies with important

  limitations, or randomized clinical trials with several major limitations.” 4                     The improper

  implementation of the CDC Guideline by the Defendants and other pharmacies is an

  overcorrection to a problem they are alleged to have helped create and has been felt in every state.

  The problem is so pronounced that in one state, Alaska, the Board of Pharmacy sent a letter dated

  January 23, 2019 to all Pharmacists, stating:

               The Board of Pharmacy has had an influx of communication concerning patients
               not able to get controlled substance prescriptions filled for various reasons, even
               when signs of forgery or fraudulence were not presented.

               As a result of the increased “refusals to fill,” the board is issuing the following
               guidance and reminders regarding the practice of pharmacy and dispensing of
               control substances:

        1. Pharmacists must use reasonable knowledge, skill, and professional judgment when
           evaluating whether to fill a prescription. Extreme caution should be used when
  4
        https://www.cato.org/blog/lawmakers-really-want-follow-science-they-will-repeal-codified-opioid-guidelines.

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               deciding not to fill a prescription. A patient who suddenly discontinues a chronic
               medication may experience negative health consequences;
        2. Part of being a licensed healthcare professional is that you put the patient first. This
           means that if a pharmacist has any concern regarding a prescription, they should
           attempt to have a professional conversation with the practitioner to resolve those
           concerns and not simply refuse the prescription. Being a healthcare professional
           also means that you use your medication expertise during that dialogue in offering
           advice on potential alternatives, changes in the prescription strength, directions etc.
           Simply refusing to fill a prescription without trying to resolve the concern may call
           into question the knowledge, skill or judgment of the pharmacist and may be
           deemed unprofessional conduct;
        3. Controlled substance prescriptions are not a “bartering” mechanism. In other
           words, a pharmacist should not tell a patient that they have refused to fill a
           prescription and then explain that if they go to a pain specialist to get the same
           prescription then they will reconsider filling it. Again, this may call into question
           the knowledge, skill or judgment of the pharmacist;
        4. Yes, there is an opioid crisis. However, this should in no way alter our professional
           approach to treatment of patients in end-of-life or palliative care situations. Again,
           the fundamentals of using our professional judgment, skill and knowledge of
           treatments plays an integral role in who we are as professionals. Refusing to fill
           prescriptions for these patients without a solid medical reason may call into
           question whether the pharmacist is informed of current professional practice in the
           treatment of these medical cases.
        5. If a prescription is refused, there should be sound professional reasons for doing so.
           Each patient is a unique medical case and should be treated independently as such.
           Making blanket decisions regarding dispensing of controlled substances may call
           into question the motivation of the pharmacist and how they are using their
           knowledge, skill or judgment to best serve the public. 5

               38.    In 2016, a Pain Management Best Practices Inter-Agency Task Force was

  established by the U.S. Department of Health and Human Services to address gaps or

  inconsistencies in managing chronic and acute pain. The 29-member Task Force included federal

  agency representatives as well as nonfederal experts and representatives from a broad group of

  stakeholders. On May 9, 2019, it issued its Report.6 Its findings included the following:

               The recent advent of retail pharmacies limiting the duration of prescriptions,
               making unrequested changes to dosages, or placing barriers to obtaining properly
               prescribed pain medications has had the unintended consequence of limiting access
  5
        https://www.commerce.alaska.gov/web/portals/5/pub/pha_ControlledSubstanceDispensing_2019.01.pdf.
  6
        https://www.hhs.gov/sites/default/files/pmtf-final-report-2019-05-23.pdf.

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               to optimal pain care. Without such access, many patients face significant medical
               complications, prolonged suffering, and increased risk of psychiatric conditions.
               (§3.4, pp. 62-3)

                                                     * * *
               Our report documented widespread misinterpretation of the CDC Guideline —
               specifically, the recommendation regarding the 90 morphine milligram equivalents
               (MME) dose. . . . Instances have been reported where the CDC Guideline was
               misapplied to the palliative care and cancer populations with pain and to providers
               who care for these patient populations. (§4, pp. 69)

                                                     * * *
               The CDC Guideline recommends that opioids prescribed for acute pain be limited
               to three or fewer days and that more than a seven-day supply is rarely necessary.
               Various health insurance plans, retail pharmacies, and local and state governments
               are implementing the CDC Guideline as policy, limiting the number of days a
               patient can receive prescription opioids even when the seriousness of the injury or
               surgery may require opioids for adequate pain management for a longer period.
               (§4, p. 70)
                                                     * * *
               For clarity, the CDC Guideline recommendation #6 refers to acute pain that is non-
               surgical, non-traumatic pain. (§4, p. 72)

               39.    On April 24, 2019, the CDC issued a release addressing concerns about the

  misapplication of its Opioid Prescribing Guideline.7 In the release, the CDC stated:

               In a new commentary external icon in the New England Journal of Medicine
               (NEJM), authors of the 2016 CDC Guideline for Prescribing Opioids for Chronic
               Pain (Guideline) advise against misapplication of the Guideline that can risk
               patient health and safety.

               . . However, some policies and practices that cite the Guideline are inconsistent
               with, and go beyond, its recommendations. In the NEJM commentary, the authors
               outline examples of misapplication of the Guideline, and highlight advice from the
               Guideline that is sometimes overlooked but is critical for safe and effective
               implementation of the recommendations.

               40.    A June 25, 2019 letter from the National Council on Independent Living written to

  Congress8 warned:

               The CDC guideline contains dosage guidance to assist doctors in starting a new
               opioid individual ranging from the equivalent of 50 to 90 milligrams of morphine

  7
        https://www.cdc.gov/media/releases/2019/s0424-advises-misapplication-guideline-prescribing-opioids.html.
  8
        https://www.ncil.org/wp-content/uploads/2019/06/6-25-19-Chronic-Pain-Sign-On-Letter.pdf.

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               a day. This recommendation is also based on low quality evidence (evidence
               quality 3).

               Yet this dosage guidance has taken on a life of its own, becoming, as the CDC
               recently recognized, a sort of benchmark or proxy for safe prescribing. It has been
               translated as a de facto limit into pharmacy and payer policies and has been used to
               flag patients as over-utilizers and physicians as over-prescribers, without any
               consideration of the context of an individual’s disease or the population of
               individuals a physician treats.

               As CDC Director Redfield recently clarified, this provision was never intended to
               apply to people currently taking opioids—as the implications of altering medication
               for current patients are quite different. For current patients, the Director makes
               clear, the only relevant question is whether the benefits exceed the risks of the
               medication.

               The final report released by the Interagency Task Force also criticized the strict use
               of dosage thresholds as unscientific and potentially harmful. Nevertheless, these
               numbers are now used in risk scoring algorithms by payers, hospitals, pharmacies
               and law enforcement agencies, often in ways that are nontransparent. Higher-than-
               average dosage may automatically generate a “high-risk” score, even for
               individuals who have had years of successful long-term therapy and who exhibit no
               other risk factors and may lead to the abrupt and inappropriate denial of medication.

                                                     *   *    *

                            OVERREACH TO UNINTENDED POPULATIONS

               Another unintended consequence of misapplications of the guideline has been
               overreach to individuals who were never intended to be covered, such as people
               with cancer or sickle cell disease who were expressly exempt from the CDC
               guideline but have experienced serious barriers to receiving medication in the
               current policy environment. Similarly, some policies focused on acute pain have
               exempted people with chronic pain, but these exemptions too have proven
               insufficient to protect access to medication.

               41.    On June 16, 2020, the AMA in response to a request by the CDC for comments on

  the CDC Guideline wrote9 that many “misapply the CDC Guideline in different ways and have

  resulted in specific harm to patients,” including the CVS’s Opioid Dispensing Policy.



  9
      https://searchlf.ama-
  assn.org/undefined/documentDownload?uri=%2Funstructured%2Fbinary%2Fletter%2FLETTERS%2F2020-6-16-
  Letter-to-Dowell-re-Opioid-Rx-Guideline.pdf.

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               42.       The AMA in its June 16, 2020 letter stated:

               •     Patients experiencing pain need to be treated as individuals, not according to
                     one-size-fits-all algorithms and policies that do not take individual patient’s
                     needs into account. Yet, the CDC Guideline also included arbitrary dosage and
                     quantity recommendations that have been consistently misapplied by state
                     legislatures, national pharmacy chains, pharmacy benefit management
                     companies, health insurance companies, and federal agencies. 10
               •     The CDC has itself acknowledged the CDC Guideline’s negative effect on
                     access for patients with legitimate medical needs.
               •     A 2019 survey from the American Board of Pain Medicine found:11
                     •   72 percent of pain medicine specialists said that they—or their patients—
                         have been required to reduce the quantity or dose of medication they have
                         prescribed.
               •     The AMA has heard from many physicians and patients from whom needed pain
                     therapy with opioid analgesics was withheld based on a rationale that the
                     treatment team was following the CDC guidance.
               •     Patients with sickle cell disease or advanced cancer have been accused of
                     manufacturing acute pain and engaging in drug seeking behavior.
               •     Patients in hospice or who have cancer that opioid analgesics were denied
                     because the prescribed amount did not comply with the CDC Guideline. These
                     unintended but predictable consequences add to the stigma, racial, and other
                     biases that these patients already face.

               43. The AMA concluded in its June 16, 2020 letter that:

               •     The Task Force further affirms that some recognize that patients with acute or
                     chronic pain can benefit from taking prescription opioid analgesics at doses that
                     may be greater than guidelines or thresholds put forward by federal agencies,
                     health insurance plans, pharmacy chains, pharmacy benefit management
                     companies, and other advisory or regulatory bodies.




  10
       “The Task Force emphasizes the importance of individualized patient-centered care in the diagnosis and
  treatment of acute and chronic pain.” U.S. Department of Health and Human Services (2019, May). Pain
  Management Best Practices inter-Agency Task Force Report: Updates, Gaps, Inconsistencies, and
  Recommendations. Retried from U.S. Department of Health and Human Services website:
  https://www.hhs.gov/ash/advisorycommittees/pain/reports/index.html.
  11
       Second Annual Survey of Pain Medicine Specialists Highlights Continued Plight of Patients with Pain, and
  Barriers to Providing Multidisciplinary, Non-Opioid Care. American Board of Pain Medicine. Available at
  http://abpm.org/uploads/files/abpm%20survey%202019-v3.pdf.

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               •     The CDC Guideline has harmed many patients12--so much so that in 2019, the
                     CDC authors13 and HHS issued long-overdue … clarifications that states should
                     not use the CDC Guideline to implement an arbitrary threshold.
               •     Unfortunately, some policies and practices purportedly derived from the
                     guideline have in fact been inconsistent with, and often go beyond, its
                     recommendations. A consensus panel has highlighted these inconsistencies,
                     which include inflexible application of recommended dosage and duration
                     thresholds and policies that encourage hard limits and abrupt tapering of drug
                     dosages, resulting in sudden opioid discontinuation or dismissal of patients
                     from a physician’s practice. The panel also noted the potential for
                     misapplication of the recommendations to populations outside the scope of the
                     guideline. Such misapplication has been reported for patients with pain
                     associated with cancer, surgical procedures, or acute sickle cell crises. There
                     have also been reports of misapplication of the guideline’s dosage thresholds to
                     opioid agonists for treatment of opioid use disorder.

                                                          VI.

                               DEFENDANTS’ OPIOID DISPENSING POLICY

               44.      Following the publication of the CDC Guideline on or about March 15, 2016,

  CVS changed its policy concerning filing opioid prescriptions. Publicly, CVS announced that

  the Policy would include:

               •     Seven-day supply limits for acute pain where appropriate;
               •     Morphine milligram equivalent (MME) quantity limits; and
               •     Immediate release (IR) before extended release (ER) step therapy.

  CVS also made clear that its Policy “aligns with the Centers for Disease Control and Prevention

  (CDC) guidelines.”14

               45.      The Policy was applicable “enterprise-wide,” meaning to CVS’s retail pharmacies

  and CVS Caremark’s pharmacy benefits manager program, to “leverage the capabilities of CVS




  12
       Beth D Darnall, David Juurlink, Robert D Kerns, Sean Mackey, et al., International Stakeholder Community
  of Pain Experts and Leaders Call for an Urgent Action on Forced Opioid Tapering, Pain Medicine, Volume 20,
  Issue 3, March 2019, Pages 429-433, https://dol.org.10.1093/pm/pny228.
  13
       Deborah Dowell, M.D., M.P.H., Tamara Haegerich, Ph.D., Roger Chou, M.D., No Shortcuts to Safer Opioid
  Prescribing. June 13, 2019. N Engl J Med 2019; 380:2285-2287. DOI: 10.1056/NEJMp1904190.
  14
       See https://cvshealth.com/news-and-insights/articles/utilization-management-strategies-to-address-the-opioid-
  crisis.

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  Health’s pharmacy benefit manager (PBM), CVS Caremark, which covers nearly 90 million plan

  members, and the CVS Pharmacy retail presence in nearly 10,000 communities across the

  country.”15

               46.   Although CVS did not publicly provide all details of its Policy, upon information

  and belief, CVS’s Policy incorporated the CDC Guideline’s 90 MME dosage and 7-day duration

  thresholds as hard and fast limits and misapplied the CDC Guideline. More specifically, although

  the Policy language appears benign, when patients present prescriptions for opioid medication

  exceeding both the CDC Guideline’s 90 MME dosage and 7-day thresholds, CVS, through its

  Opioid Dispensing Policy, and related Practices, Procedures and Training, incentivizes, pressures

  and/or instructs, expressly or implicitly, its pharmacists to not fill such prescriptions and/or fill

  them at lesser amounts which do not exceed the CDC Guideline dose and duration thresholds,

  treating those thresholds as hard and fast limits. Accordingly, CVS’s pharmacists will obtain

  information about the patient’s diagnosis, ICD codes, details of the patient’s treatment plan, the

  expected length of treatment and whether previous medications were tried and failed in order to

  use this information to, in effect, “re-diagnose” the patient and his or her treatment and potentially

  “blacklist” individuals seeking to fill opioid prescriptions and/or their physicians prescribing the

  medication.

               47.   CVS has made the decision to continue filling and selling opioid prescriptions.

  Although its Policy does not necessarily mean that prescriptions exceeding the CDC Guideline

  dosage and duration thresholds will never be filled, CVS, through its Opioid Dispensing Policy,

  Practices, Procedures and Training, actively discourages and burdens the process of filling valid




  15
      See              https://www.cusd.com/Downloads/v2-CVS-Health-Enhanced-Opioid-Utilization-Management-
  03_06_18.pdf.

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  prescriptions exceeding the Guideline dosage and duration thresholds, either at all or as written.

  Upon information and belief, CVS’s pharmacists are made aware through their managers and their

  training that by filling such prescriptions, the pharmacists are susceptible to being fired and risk

  being left on their own in any civil or criminal investigation relating to the filling of the

  prescription.

               48.   Nationwide, following the issuance of the CDC Guideline in 2016, customers, such

  as Plaintiff, presenting opioid prescriptions exceeding the CDC Guideline dose and duration

  thresholds at CVS noticed difficulty and/or an inability in getting their prescriptions filled as

  written. The AMA passed resolutions and issued a letter noting that the CDC Guideline dose and

  duration thresholds was being applied improperly by pharmacies, specifically mentioning CVS.

  This was also noted by the Pain Management Task Force in its Pain Management Best Practices

  Report. The CDC itself issued a press release specifically warning against the misuse of its

  Guideline.

               49.      CVS acknowledges that all valid prescriptions should be filled, but the goal of

  its Policy is not to ensure the prescriptions are valid, but to protect CVS from potential liability for

  filling such prescriptions. CVS’s Policy does this through the use of the CDC Guideline does and

  duration thresholds which, by its clear terms, are not meant to be applied by pharmacists nor

  applied to the prescriptions for patients such as Edith Fuog.

               50.      CVS’s pharmacists are not required to explain to the patients the true reason

  why their valid prescriptions are not being filled or why their valid prescriptions are being filled

  other than as written. Instead, they typically provide no explanation, offer a pretextual explanation,

  such as being out of stock, or seek to delay any action hoping the patient will go away on his or




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  her own. These pretextual excuses are frequently intended to frustrate Plaintiff and provide cover

  to CVS from further regulatory scrutiny.

               51.      In addition to the foregoing, upon information and belief, CVS has inadequately

  trained its pharmacists with regard to its Policy, resulting in inconsistent application of the Policy,

  the profiling of patients presenting valid opioid prescriptions as criminals, drug seekers and addicts

  and its pharmacists either refusing to tell the patient why the valid prescriptions were not being

  filled as written or providing pretextual reasons, such as the drug being out of stock.

               52.   In addition to the foregoing, upon information and belief, CVS has adopted express

  or implicit requirements that opioid prescriptions not be filled unless accompanied with one or

  more prescriptions for non-opioid medication. In the alternative, such requirements are being

  imposed by individual pharmacists employed by CVS. There is no medical reason for this

  requirement, which results in unnecessary increased expenses and costs for Plaintiff and the Class

  Members.

               53.   In addition to the foregoing, upon information and belief, CVS has adopted or will

  adopt express or implicit requirements that opioid prescriptions not be filled unless and until the

  person seeking the prescription provide comprehensive medical records which are then reviewed

  by a CVS employee who is not licensed to practice medicine. In the alternative, such requirements

  are being imposed by individual pharmacists employed by CVS. There is no medical reason for

  this requirement, which results in unnecessary increased expenses and costs for Plaintiff and the

  Class Members.

               54.   Moreover, upon information and belief, CVS has an internal written or informal

  policy that mandates that pharmacists and other employees are prohibited from informing Plaintiff

  and the Class Members why they are refusing to fill a valid opioid prescription.



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               55.    The express and implicit policies as adopted and applied by CVS punish patients

  who have, and need, legitimate access to such medication. In practice and application, they

               a. Interfere with the physician-patient relationship between Plaintiff, and the Class
                  Members, and their physicians, effectively engaging in the unauthorized practice of
                  medicine;
               b. Profile and discriminate against Plaintiff, and the Class Members, through no fault of
                  legitimate pain patients themselves or of the doctors caring for them;
               c. Discriminate against Plaintiff, and the Class Members, based on disability and age; and
               d. Ignore the real problems with opioid abuse and foist the responsibility for the epidemic
                  on Plaintiff, and the Class Members.

               56.    Further, CVS’s express and implicit policies have led to actions taken by its

  employees and agents, approved by CVS, such as:

               a. Telling customers, including Plaintiff and the Class Members, that they do not have the
                  prescribed medication in stock without checking to see whether the medication is in
                  fact in stock or when the medication will be in stock;
               b. Reducing the stock of certain opioid medication;
               c. Refusing to fill a prescription for opioids unless additional non-opioid prescriptions are
                  presented for filling;
               d. Refusing to fill prescriptions from certain medical providers;
               e. Making subjective determinations about the patient’s reasons and need for the
                  prescribed medication; and/or
               f. Focus more on risk management than the needs of the patient.

               57.    CVS’s Policy puts even more of a burden on a patient who is unwell and suffering.

  Plaintiff and the Class Members, who are afflicted with complex health conditions, already spend

  hours a week in doctors’ offices and on the phone with insurers and billing departments, have

  limited access to transportation, and are already hindered by pain and fatigue.




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               58.   CVS is the largest retail pharmacy chain in the United States, filing more than one

  billion prescriptions each year in 49 states, the District of Columbia and Puerto Rico and serving

  4.5 million customers per day.16

               59.   CVS’s 2019 financial statement reflects total revenue of $256.8 billion, Total

  Revenue Pharmacy Services of $141,491 billion and that 1 in 3 Americans interact with CVS

  Health annually.        It further states that CVS has (i) approximately 9,900 retail locations,

  (ii) approximately 1,100 walk-in medical clinics, (iii) a leading pharmacy benefits manager with

  approximately 105 million plan members, (iv) a senior pharmacy care business serving more than

  one million patients per year and (v) serves an estimated 37 million people through traditional,

  voluntary and consumer – directed health insurance products and related services.

                                                         VII.

                                                  EDITH FUOG

                                              Edith Fuog is Disabled

               60.   Plaintiff Edith Fuog is 49 years old. In 2011, she was diagnosed with Stage-1

  Breast Cancer, and underwent surgical bilateral mastectomy and reconstruction. Ms. Fuog

  subsequently developed Methicillin-resistant Staphylococcus aureus (“MRSA”), an aggressive

  form of “flesh-eating” bacteria. The condition worsened and Ms. Fuog developed an even more

  deadly bacteria, Vancomycin-Resistant Staphylococcus aureus (“VRSA”). In 2011, only 10 other

  individuals were known to have contracted VRSA. As a result of contacting VRSA, Ms. Fuog

  became septic and is considered HA-MRSA, having to be quarantined each time she is

  hospitalized. In 2014, as a result of an unexpected reaction to a vaccine Ms. Fuog was given for

  her autoimmune disease, she developed Guillian Barre Syndrome and Parsonage Turner



  16
        https://cvshealth.com/about/facts-and-company-information.

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  Syndrome, which caused her to become temporarily paralyzed and causes severe pain in her left

  shoulder, left chest, and left arm. She also has major balance/gait issues requiring Ms. Fuog to re-

  learn to walk and use her fine motor skills.

               61.   In addition to these illnesses, Ms. Fuog suffers from Trigeminal Facial Neuralgia,

  psoriatic arthritis, extensive neuropathies (peripheral, autonomic, mono-neuropathies),

  Hashimotos Thyroid Disease, Lupus (SLE), Mixed Connective Tissue Disease, Intracranial

  Hypertension,       Degenerative    Disc    Disease,    Osteoarthritis,   Spondylitis,   CIDP/Chronic

  Inflammatory Demyelinating Polyneuropathy and SAPHO Syndrome.

               62.   These diseases have caused impairments that substantially limit one or more of Ms.

  Fuog’s major life activities. She is able to sleep for only a few hours at a time. Due to nerve

  damage in her legs, Ms. Fuog has restless leg syndrome when she sleeps and a sensation of insects

  crawling on her legs. She also sleeps fully clothed due to other sensations caused by nerve damage.

               63.   When she is awake, she can walk for short periods inside her home, but, if she

  leaves her home, she usually uses a wheelchair or a walker for assistance. She has problems

  writing because she cannot hold a pen or pencil in her hands for very long. If she stands for half

  an hour or more, her ankles and feet will frequently swell, and it will take 1 to 2 weeks of bed rest

  for the swelling to go down. She has a great deal of difficulty bending over and picking things up.

  She cannot perform household chores, shower, prepare food or even brush her hair without

  assistance, which is mostly provided by her 20-year-old daughter who lives with her. She has

  nerve damage to her eyes which prevents her from driving a car at night. She can drive for short

  distances during the day; however, whenever she goes outside, she needs to wear UV protective

  clothing to prevent blistering and swelling from ultraviolet light.            She also suffers from

  incontinence and cannot ever be too far away from a bathroom. Her illnesses have left her with



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  near constant bouts of severe nausea and vomiting which results in her inability to eat for days.

  There are times when she does not leave her home for up to four weeks in a single stretch.

               64.    A good day for Ms. Fuog is waking up after a few hours of restless sleep and being

  able to brush her teeth, following which she lies on her couch with a heating pad for a few hours.

  After that, she lets her dog go outside. She is not able to take her dog for a walk but can let the

  dog out into the yard. She might be able to go to the store with her daughter, then come back home

  and again lie on the couch with her heating pad. After a few hours, she may be able to get up and

  cook dinner with her daughter, though, due to her ailments, Ms. Fuog is unable to lift the pots and

  pans on her own.

               65.    Ms. Fuog tried to work at a job ringing up cash sales for 4 hours per week but was

  unable to do it. In September 2015, she was found by an administrative judge with the Social

  Security Administration to be disabled and determined to have been disabled since her filing date

  of August 19, 2013.

               66.    Ms. Fuog has been treated by the same pain doctor since July 2013.            Her

  prescription opioid pain medication allows her to function to some degree.               Without her

  prescription opioid pain medication, Ms. Fuog is unable to do much beyond lying in her bed or on

  her couch.

               67.    In 2014 Ms. Fuog was prescribed Dilaudid 8mg and Fentanyl 50mcg patches.

  Ms. Fuog’s Fentanyl prescription was replaced in 2019 with Morphine ER30mg17. At all times,

  while being prescribed these opioids, Ms. Fuog has been under the care of pain management

  physicians, and has fully complied with all treatment recommendations, never deviating.




  17
       The ER stands for the extended release formula of the medication.

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                                Difficulties Filling Her Prescriptions at CVS

               68.   Ms. Fuog began experiencing problems with CVS refusing her prescriptions in

  2017. Ms. Fuog was told by a pharmacist at the CVS Pharmacy at 8700 US Highway 301, Parrish,

  FL 34219, Store #7937, that her opioid prescriptions could no longer be filled at that location.

  When Ms. Fuog inquired as to the reason, she was told that since the 2016 CDC guidelines were

  released, CVS was changing their policy concerning filing opioid prescriptions. Ms. Fuog had

  been filling her opioid prescriptions at that particular CVS location since 2015.

               69.   Ms. Fuog lodged a complaint with CVS Corporate Headquarters, stating that her

  prescription should not be refused due to the CDC Guideline thresholds and spoke to a supervisor

  who told Ms. Fuog there would be a “follow up” and CVS would “let her know what they decided.”

  Ms. Fuog never heard back from anyone at CVS concerning this complaint.               Many times

  thereafter, Ms. Fuog returned to that particular CVS location, which was close to her residence,

  only to be told “they did not have [her opioid prescriptions] in stock.” Upon information and

  belief, this reason was pretextual.

               70.   Ms. Fuog also visited the CVS location in Sun City, Florida on several occasions

  to have her opioid prescriptions filled. There she was initially told CVS would not fill her opioid

  prescriptions and on later visits was told that the medicine was not in stock, which she believes

  was a pretextual reason.

               71.   In June of 2017, Ms. Fuog went to a CVS location in Miami where the pharmacist

  refused to fill her opioid prescription, even though two months before CVS had filled her opioid

  prescription. The pharmacist on duty screamed and yelled at her, in front of other customers, when

  she questioned the refusal. Ms. Fuog was told by the pharmacist that the pharmacist wasn’t

  comfortable filling her opioid medications, but the pharmacist never explained the reasons for



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  being “uncomfortable” and suggested that Ms. Fuog try a CVS pharmacy in Cutler Bay, Florida,

  where Ms. Fuog had previously lived.

               72.   Ms. Fuog filed a complaint with CVS Corporate Headquarters about the incident.

  She was subsequently advised that the pharmacist might have committed a HIPPA violation by

  publicly announcing and rejecting her request for opioid medication and they would look into the

  matter. Ms. Fuog followed up several times but was never given any information about her

  complaint.

               73.   As a result of this incident, each month, for days prior to seeking to have her opioid

  prescription filled, Ms. Fuog suffers from extreme anxiety and sickness in her stomach concerning

  the treatment she might receive when seeking to have her legitimate opioid prescription filled.

               74.   In June of 2018, Ms. Fuog moved to Riverview, Florida and went to a CVS

  pharmacy near her home (CVS Pharmacy at 5905 Us Highway 301 South Riverview, FL 33569

  Store #7225), and explained to the pharmacist her situation, including her disability issues and the

  fact that she is unable to drive at night. The pharmacist refused to fill her opioid prescriptions or

  to discuss the issue with her doctor but advised that the store would be happy to fill all her other

  medications. Ms. Fuog told the pharmacist she was being discriminated against her because of her

  disability and subsequently filed a complaint about the matter with CVS Corporate Headquarters,

  which advised her that she would be informed of the results of an investigation into the matter.

  She has never received any information from CVS concerning any such investigation.

               75.   Subsequently, on August 17, 2018, Ms. Fuog returned to the Riverview CVS to

  speak with the pharmacy manager about having her opioid prescriptions filed. Ms. Fuog pleaded

  with the pharmacy manager to call her doctor to verify her prescription. The CVS pharmacy




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  manager refused. When again Ms. Fuog said she felt she was being discriminated against, the

  pharmacy manager told her:

               The DEA is going to come in and say we are filling too much. I am not willing to
               do it. Because of the CDC guidelines, the DEA is looking at us too closely. It is
               too much of a liability and a risk to fill it.

               76.    The people in the store were all staring and listening. Ms. Fuog practically begged

  and asked why the pharmacist was discriminating against her, stating that if she asked for Insulin,

  HIV and/or heart medication, it would be filled, and if not, it would be on the news the next day.

  Ms. Fuog specifically asked the pharmacist how refusing to fill opioids was any different than

  refusing any of those other medications.

               77.    The pharmacy manager said he would not fill Ms. Fuog’s other prescriptions,

  handed back her opioid prescription and walked away. It is clear that this denial was not due to

  the exercise of any professional judgment or even the slightest intent to determine if Plaintiff’s

  prescription was legitimate.

               78.    Since then, Ms. Fuog has sought to have her opioid prescriptions filled at (i) a CVS

  pharmacy located inside a Target store at 10150 Bloomingdale Ave Riverview, FL33578, Store

  #17311 -- also near her home where the pharmacist advised her that CVS would only fill her non-

  opioid medications and (ii) a CVS located in Sarasota, Florida where she was advised by the

  pharmacist that he could only fill such prescriptions for his “regular customers.” Since 2017,

  some two dozen other CVS pharmacies all refused to fill her valid prescriptions for opioids on the

  basis that the medications either were not in stock or that they would not fill her opioids

  prescriptions for any reason. Ms. Fuog would seek to have her prescriptions for opioid medication

  filled at CVS if the discrimination were ended.

               79.    Every time Ms. Fuog complained to CVS corporate about its pharmacists’ refusal

  to fill her valid opioid prescription, she explained that she is disabled and needed her opioid

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  medication filled so that she could have a semblance of a normal life. Ms. Fuog would plead with

  the CVS pharmacist and CVS corporate to call her doctor and verify her prescriptions and

  diagnosis.

               80.   On every occasion, Ms. Fuog offered to provide her medical records for CVS and

  its pharmacists to review. She told them she had her records organized on a CD and would be

  more than willing to give it to them. She even opened her phone to show the file with all her

  medical records, including MRI reports, labs, and doctor’s notes. She specifically told them she

  was “an open book” and would do whatever you need so I can get my prescriptions filled. She

  also explained that she was limited with driving and needed to be as close to her home as possible.

               81.   Ms. Fuog’s treating physician gave her his cell number and she repeatedly offered

  to call her doctor in the presence of the CVS pharmacist so they could speak with him and answer

  any concerns they might have. Specifically, Ms. Fuog asked on every occasion when her opioid

  prescriptions were refused: “What do you need from me, or what do I need to do so you will fill

  my prescription.” The CVS pharmacist always refused to speak with her doctor and refused to

  review her medical history; just telling her “No” or “go somewhere else.” Citing the CDC

  Guideline as justification, CVS corporate told her it would “look into it, and get back to you,” but

  never doing so. At every turn, Ms. Fuog’s request for an accommodation was rebuffed.

               82.   None of the foregoing instances evidence attempts at due diligence or the exercise

  of professional judgment by CVS’s pharmacists to determine if Plaintiff’s prescriptions were

  legitimate. Plaintiff offered to provide information to answer any unresolved questions or, more

  often, the pharmacists made no attempt to obtain information to answer any supposedly unresolved

  questions about her prescription. The fact that CVS’s pharmacists instead encouraged her to go to

  other CVS locations evidences that they were simply trying to avoid being the pharmacist to fill



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  her prescriptions. The traveling around to different pharmacy locations is common among patients

  with opioid prescriptions exceeding the CDC Guideline dose and duration thresholds and is

  referred to as the “Pharmacy Crawl.”

               83.   CVS has acted intentionally and with deliberate indifference to the strong

  likelihood that a violation of federally protected rights would result from the implementation of its

  policies and actions.       CVS knew that harm to Ms. Fuog’s federally protected rights was

  substantially likely and failed to act on that likelihood.

               84.   Ms. Fuog has suffered compensatory damages due to CVS's intentional

  discrimination and deliberate indifference. Since at least January 2017, at least once a month, she

  has had to spend hours driving around looking for a pharmacy that will fill her prescriptions for

  opioid medication despite the fact that there is a CVS pharmacy within a few hundred yards of her

  home. In addition to the pain-and-suffering she experiences in having to undertake these trips and

  her mental anguish and fear wondering where and whether she will be able to get her prescriptions

  for opioid medication filled, CVS’s actions have caused her to incur unnecessary increased

  expense for gas and unnecessary wear and tear of her car.

               85.   In addition, beginning in January 2019, her insurance company stopped paying for

  her prescription opioid medication. With the insurance coverage, her cost for the prescription

  opioid medication was a $10 co-pay. For about a year afterward, she was able to get the

  prescriptions filled at various pharmacies that provided discounts and the cost to her was about

  $50. However, since January 2020, no pharmacy, including CVS, will provide discounts for

  prescription opioid medication and Ms. Fuog has been forced to pay $320 each month for her

  prescription opioid medication. Based upon a CVS app for discounts, Ms. Fuog’s cost would be




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  about $48 if CVS would fill her prescription and give her the discount which they provide for other

  prescription medication.

                                                       VIII.

                            THE CVS POLICY APPLIES EXCLUSIVELY
                        OR DISPROPORTIONATELY TO DISABLED PERSONS

               86.    The CVS Policy applies to opioid prescriptions exceeding 90 MME and lasting for

  more than 7 days. Opioid prescriptions exceeding these dose and duration thresholds are given to

  treat severe pain resulting from disabling medical conditions. An April 2021 Economic Research

  Report prepared by or for the U.S. Department of Agriculture notes that "Epidemiological survey

  research has also found a close link between pain and physical disability" and that "physical

  disability is strongly linked to chronic disease." The study further states that: "The tie between

  physical disability and opioid prescriptions is remarkably strong."18

               87.    A March 2021 study by the University of Michigan notes that "preliminary research

  has suggested a link between opioid prescriptions and disability program participation." The study

  states:

               There is the potential for a strong relationship between prescription opioid use
               and disability status as determined by Social Security through SSDI or SSI since
               the conditions that tend to require prescription opioids (chronic pain,
               musculoskeletal injuries or mental health conditions) also tend to be qualifying
               conditions for Social Security-administered disability programs. Both SSDI and
               SSI require that alleged disabling health conditions last for at least 12 months or be
               expected to result in death, and prevent the applicant from earning at the substantial
               gainful activity level ($1,310 per month for nonblind applicants in 2021) (emphasis
               added).19




  18
       The Opioid Epidemic: A Geography In Two Phases, pp. 6 & 7.
  https://www.ers.usda.gov/webdocs/publications/100833/err-287.pdf?v=1708)
  19
       The Causes and Consequences of Opioid Use Among Older Americans: A Panel Survey Approach, pp. 1& 6-7.
  https://mrdrc.isr.umich.edu/publications/papers/pdf/wp419.pdf

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               88.    A 2021 study found: “Our data show that individuals with disabilities who use

  opioids, on average, have a higher incidence of continuous opioid use and significantly greater

  amounts prescribed compared to other adults who have opioid prescriptions.”20

               89. In a Technical Assistance Document issued on August 5, 2020, the EEOC advised:

               If the patient's pain requires ongoing opioid medication, the underlying medical
               condition likely qualifies as an ADA disability. The ADA's definition of
               "disability" is different from the one used for Social Security disability benefits –
               having an ADA disability does not mean that someone can't work. Conditions like
               cancer, muscular dystrophy and multiple sclerosis should easily qualify and other
               conditions may also qualify, like orthopedic conditions that cause pain for which
               someone is prescribed opioids (emphasis added).21

               90.    The CDC Guideline cautions that opioid prescriptions should typically not exceed

  a dosage of 50 MME nor a duration of 3 days without careful consideration by the prescribing

  doctor. As these studies suggest, persons receiving prescriptions which exceed the higher end of

  the dosage (90 MME) and duration (7 days) thresholds are highly likely to be disabled within the

  meaning of the ADA.

               91.    Accordingly, the CVS Policy is facially discriminatory. The Policy treats persons

  with opioid prescriptions exceeding the CDC Guideline dose and duration thresholds differently

  from (i) people with opioid prescriptions below those thresholds and (ii) people without opioid

  prescriptions. Due to the correlation between prescriptions exceeding the CDC Guideline dose

  and duration thresholds and disability, the Policy results in proxy discrimination, which is a form

  of facial discrimination.

               92.    Even assuming not every person with an opioid prescription exceeding the CDC

  Guideline dose and duration thresholds is disabled within the meaning of the ADA, the use by



  20
      https://ideas.repec.org/a/spr/aphecp/v19y2021i3d10.1007_s40258-020-00622-4.html.
  21
      https://www.eeoc.gov/laws/guidance/how-health-care-providers-can-help-current-and-former-patients-who-
  have-used-opioids, Question 2, p. 3.

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  CVS of the CDC Guideline dose and duration thresholds in its Policy to differentiate among its

  prescription customers is, at best, facially neutral over-discrimination whereby CVS recognizes

  that while its Policy will disproportionately affect disabled persons, it may also affect nondisabled

  persons.

                                                       IX.

                     THE CVS POLICY TREATS DISABLED PERSONS DISPARATELY

               93.      The test for disparate treatment is deliberate indifference, which requires

  knowledge that a harm to a federally protected right is substantially likely and a failure to act upon

  that the likelihood. When CVS adopted the dosage and duration thresholds from the CDC

  Guideline as part of its Policy, it knew that:

        •      the Guideline was directed to clinicians and not pharmacists,
        •      the Guideline was never intended for the purpose for which they were using it,
        •      the Guideline was only a recommendation, and
        •      the Guideline’s dosage and duration thresholds were meant for acute pain and people just
               starting opioid medication.

               94.      CVS knew that applying these thresholds to persons presenting valid opioid

  prescriptions exceeding those thresholds and who were not starting opioid medication was an

  inappropriate application of the CDC Guideline and that it was substantially likely to impact

  disabled persons seeking to have those valid prescriptions filled. CVS knew this from:

               •     public complaints by the AMA,
               •     the CDC’s own warning that its Guideline should not be misapplied, and
               •     complaints from its own customers.

               95.      Nonetheless, CVS took no action to prevent the misapplication of the Guideline to

  disabled persons by its Policy and its pharmacists.




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                                                         X.

                     THE CVS POLICY DISPARATELY IMPACT DISABLED PERSONS

               96.     The CVS Policy also disparately impacts disabled persons. The CVS Policy treats

  patients with valid opioid prescriptions exceeding the dosage and duration thresholds in the CDC

  Guideline differently from other patients seeking to fill prescriptions. Those with prescriptions

  exceeding the dosage and duration thresholds in the CDC Guideline are disabled within the

  meaning of the ADA and are substantially less likely to get their prescriptions filled as written than

  are those whose prescriptions for opioids do not exceed the dosage and duration thresholds in the

  CDC Guideline and those with non-opioid prescriptions. In 2018, for example, there were

  168,158,611 opioid prescriptions issued in the United States. Of these, 59,492,722 were for more

  than 7 days. Additionally, 12,597,565, or 7.5% of the total, exceeded 90 MME.22 While it is

  unclear how many prescriptions were for more than 7 days and exceeded 90 MME, it seems clear

  a substantial number of prescriptions written in 2018 were/would have been subjected to the

  dosage and duration thresholds in the CVS Policy and those prescriptions were written for people

  who disproportionately qualify as disabled within the meaning of the ADA. In 2018, CVS had a

  market share of prescription drug revenue of 24.2%.23

                                                         XI.

                                   THE CVS POLICY DENIES
                           MEANINGFUL ACCESS TO DISABLED PERSONS

               97.     Plaintiff, and the Class she seeks to represent, have been, and are being, denied

  meaningful access to their valid prescription opioid medication exceeding the dose and duration

  thresholds of the CDC Guideline. They are unable to get their valid prescriptions filled in the same


  22
        https://www.cdc.gov/drugoverdose/pdf/pubs/2018-cdc-drug-surveillance-report.pdf, Table 1B.
  23
        https://www.drugchannels.net/2019/02/the-top-15-us-pharmacies-of-2018-m.html.

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  manner as are (i) people with opioid prescriptions that do not exceed the dose and duration

  thresholds of the CDC Guideline and (ii) people with non-opioid prescriptions. Their access is not

  meaningful because unlike other customers attempting to fill prescriptions, they

               •     have to plan a schedule for attempting to fill their prescription several days beforehand,
               •     have to be prepared to spend hours traveling to multiple stores at various distances from
                     their homes to fill their prescriptions,
               •     cannot use a drive through lane but must go inside the store,
               •     have to dress certain ways before going into the pharmacy, such as getting nicely
                     dressed, putting on makeup and earrings/jewelry, doing her hair, painting our nails in
                     case the pharmacist is looking at her “grooming” habits to determine if she is a
                     “junkie/addict” (If her nail polish was chipped on just one nail, she would redo it);
               •     have to avoid paying in cash if possible,
               •     risk being put on a “blacklist,”
               •     expect they will be pressured or required to take a lower dose or fewer pills of their
                     prescription medication than what is prescribed,
               •     expect they will have to wait hours before their prescriptions are filled and/or be
                     required to come back at inconvenient times,
               •     expect they may be required to purchase additional medication to get their prescription
                     filled, and
               •     expect they will be given multiple, inconsistent reasons at the different pharmacies for
                     why their prescription cannot be filled, if they are given any reason at all.

                                                         XII.

                    CVS HAS FAILED TO MAKE REASONABLE MODIFICATIONS TO
                   ITS OPIOID DISPENSING POLICY, PRACTICES AND PROCEDURES

               98.      Discrimination includes “failure to make reasonable modifications in policies,

  practices, or procedures, when such modifications are necessary to afford such goods, services,

  facilities, privileges, advantages, or accommodations to individuals with disabilities.” 42 U.S.C.

  §12182(b)(2)(A).

               99.      Plaintiff has complained to CVS’s pharmacists and corporate headquarters about

  her treatment under its Policy. More specifically, in these complaints she has verbally:

               •     Explained that she is disabled and needed her opioid medication filled so that she could
                     have a semblance of a normal life;



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               •   Asked that pharmacists be required to call her doctor to verify the legitimacy of her
                   prescriptions;

               •   Offered to provide her medical records; and/or

               •   Asked that she be informed of the reasons why her prescriptions were refused, so she
                   could help resolve the issue.

               100.       Upon information and belief, numerous other CVS customers have also

  complained to CVS about its Policy for opioid prescriptions exceeding the CDC Guideline dose

  and duration thresholds. Public organizations, such as the AMA and the CDC itself, have publicly

  complained about the inappropriate incorporation of the CDC Guideline dose and duration

  thresholds into company policies. On September 28, 2017, Dr. James Holly, a medical doctor,

  wrote and published an open letter to CVS asking that its Policy be reconsidered, but the request

  was obviously ignored and/or rejected. 24

               101.       A request for a reasonable modification of a policy need not take any specific

  form nor use any particular language. A request for a reasonable modification of a policy is not

  necessary when the defendant is aware of a disability requiring accommodation. The foregoing is

  sufficient to constitute a request by Plaintiff for a reasonable modification of CVS’s Policy, to the

  extent such a request is legally necessary and/or to put CVS on notice of the need to modify its

  Policy and procedures without the need for any request by Plaintiff. In the alternative, requesting

  reasonable modification was unnecessary and/or would be futile.

               102.       The Department of Justice has published a Technical Assistance Manual to

  address compliance with Title III of the ADA. The Manual provides several illustrations of this

  requirement, including the following:

               ILLUSTRATION 3: A retail store has a policy of not taking special orders for out-
               of-stock merchandise unless the customer appears personally to sign the order. The
  24
       http://www.jameslhollymd.com/Your-Life-Your-Health/letter-to-cvs-ceo-article.



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               store would be required to reasonably modify its procedures to allow the taking of
               special orders by phone from persons with disabilities who cannot visit the store.
               If the store's concern is obtaining a guarantee of payment that a signed order would
               provide, the store could, for example, take orders by mail or take credit card orders
               by telephone from persons with disabilities.25

               103.       The Technical Assistance Manual also provides that: “A public accommodation

  may not impose eligibility criteria that either screen out or tend to screen out persons with

  disabilities from fully and equally enjoying any goods, services, privileges, advantages, or

  accommodations offered to individuals without disabilities.”                 It includes the following

  illustrations:

               ILLUSTRATION 1: A restaurant has an unofficial policy of seating individuals
               with visible disabilities in the least desirable parts of the restaurant. This policy
               violates the ADA because it establishes an eligibility criterion that discriminates
               against individuals with certain disabilities and that is not necessary for the
               operation of the restaurant. The restaurant may not justify its policy on the basis of
               the preferences of its other customers.

               ILLUSTRATION 2: A parking garage refuses to allow vans to park inside even
               though the garage has adequate roof clearance and space for vans. Although the
               garage operator does not intend to discriminate against individuals with disabilities,
               the garage's policy unnecessarily tends to screen out people with certain mobility
               impairments who, in order to have enough space for mobility aids such as
               wheelchairs, use vans rather than cars.26

               104.       The improper use of the dosage and duration thresholds in the CDC Guideline

  acts as de facto eligibility criteria that screens out or tends to screen out persons with disabilities

  from fully and equally enjoying any goods, services, privileges, advantages, or accommodations

  offered to individuals without disabilities. Thus, Plaintiff, and the Class, do not have a similar or

  “like” experience as non-disabled persons presenting prescriptions for non-opioid medication or




  25
        https://www.ada.gov/taman3.html, III-4.2100.
  26
        https://www.ada.gov/taman3.html, III-4.1100.

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  for opioid medication which does not exceed the dosage and duration thresholds in the CDC

  Guideline.

               105.       Even if the CVS Policy applied to non-disabled persons, a modification of the

  Policies would still be necessary. The DOJ’s Technical Assistance Manual illustration of the

  parking garage which does not allow vans even though the garage has adequate roof clearance and

  space for vans makes this clear. In that illustration, the policy obviously applies to both disabled

  and non-disabled persons, yet modification is still necessary.

               106.       The CVS Policy, and the related procedures and training, should be modified

  as follows:

               1. Provide annual or additional training to all pharmacists and initial training for
                  newly hired pharmacists on the appropriate and inappropriate use of the CDC
                  Guideline on Prescribing Opioids with respect to filling opioid prescriptions, which
                  training:
                  a. Explains the purpose of the CDC Guideline;
                  b. Explains the limitations of the CDC Guideline;
                  c. Discusses potential misapplications of the CDC Guideline;
                  d. Provides training on valid medical reasons why an opioid prescription
                     exceeding the CDC Guideline dose and duration thresholds might be legitimate;
                  e. Emphasizes that all legitimate prescriptions are to be filled as written, including
                     opioid prescriptions exceeding the CDC Guideline dose and duration
                     thresholds;
                  f. Emphasizes that the filling of opioid prescriptions exceeding the CDC
                     Guideline dose and duration thresholds as written is not discouraged merely
                     because such prescriptions exceed the CDC Guideline dose and duration
                     thresholds;
                  g. Emphasizes that customers presenting opioid prescriptions exceeding the CDC
                     Guideline dose and duration thresholds are to be treated with respect,
                     courteously and as any other customer, not as drug addicts or abusers.
               2. Instruct and require that the specific reason(s) for refusing to fill opioid
                  prescriptions exceeding the CDC Guideline dose and duration thresholds as written
                  must be clearly documented internally.
               3. Instruct and require that all customers are entitled to and shall be informed of the
                  specific reason(s) for refusing to fill any opioid prescriptions, especially those


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                  exceeding the CDC Guideline dose and duration thresholds, which can be remedied
                  by the customer,
               4. Instruct that the fact that an opioid prescription exceeds the CDC Guideline dose
                  and duration thresholds is insufficient in and of itself to refuse to fill the
                  prescription;
               5. Instruct that no customer presenting an otherwise legitimate and proper prescription
                  for opioids should be refused the medication for any arbitrary reason, any reason
                  based on the personal bias of the pharmacist against opioids or opioid customers,
                  or for any reason whose sole purpose is to discriminate against opioid customers or
                  treat them differently than customers presenting prescriptions for medications other
                  than opioids;
               6. To the extent that Defendant has implemented a policy requiring the rejection,
                  denial or delay in filing an otherwise legitimate and proper prescriptions for opioids
                  based solely on the CDC Guidelines, the repeal of said policy and publication of its
                  repeal to all company pharmacists;
               7. Provide clear criteria by which a physician may request exemption of specific
                  patients; and
               8. Any other modification determined to be reasonable and necessary under the law.

                                                       XIII.

                                             CAUSES OF ACTION

                                                  COUNT I
                                 Violation of Americans with Disabilities Act
                                             (42 U.S.C. §12101 et seq)

               107.   Plaintiff repeats, realleges and adopts all prior paragraphs as if fully set forth herein.

               108.   Title III of the Americans with Disabilities Act (“ADA”) provides that

  “No individual shall be discriminated against on the basis of disability in the full and equal

  enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of any

  place of public accommodation by any person who owns, leases (or leases to), or operates a place

  of public accommodation.” 42 U.S.C. §12182(a).

               109.   Plaintiff is disabled and has physical or mental impairments that substantially limit

  one or more of her major life activities within the meaning of the ADA.




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               110.   The Members of the putative Class are also disabled within the meaning of the

  ADA. Patients with valid opioid prescriptions exceeding the CDC Guideline dosage and duration

  thresholds are prescribed such medication because they suffer from conditions which render them

  disabled within the meaning of the ADA. Such patients tend to be either High Impact chronic pain

  patients, defined as having pain that lasts 3 months or longer accompanied by at least one major

  activity restriction,27 cancer patients, or patients receiving palliative care.

               111.   Defendants own, lease and/or operate places of public accommodation within the

  meaning of the ADA.

               112.   On the basis of their disability, Plaintiff, and the Class Members, are discriminated

  against and deprived of the full and equal enjoyment of the goods, services, facilities, privileges,

  advantages, or accommodations of the places of public accommodation owned, leased and/or

  operated by Defendants through their adoption, use and application of policies, practices and

  procedures which, among other things, result in (i) the refusal to dispense opioid medication as

  prescribed (either in amount or strength) when presented with legitimate prescriptions from

  patients suffering from chronic pain or pain associated with a cancer diagnosis, palliative or

  nursing home care or sickle cell anemia; (ii) the requirement that Plaintiff, and the Class Members,

  present and/or purchase additional prescription medication or present other information in order

  to have her opioid prescriptions filled; (iii) the decision of whether an opioid prescription is

  medically necessary being made by someone other than a medical doctor licensed to practice

  medicine and/or (iv) Plaintiff, and the Class Members, being blacklisted, flagged or otherwise

  included on a list or database as potentially abusing opioid medication.




  27
        https://www.nccih.nih.gov/research/research-results/prevalence-and-profile-of-high-impact-chronic-pain.

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               113.   Defendants’ conduct is ongoing and continuous, and Plaintiff, and the Class

  Members, have been harmed and continue to be harmed by Defendants’ conduct.                       Unless

  Defendants are restrained from continuing their ongoing and continuous course of conduct,

  Defendants will continue to violate the ADA and will continue to inflict injury upon Plaintiff and

  the Class Members.

               114.   Plaintiff, and the Class Members, are entitled to injunctive relief and reasonable

  attorney’s fees and costs from Defendants for their violation of the ADA. Specifically, Plaintiff

  and the Class Members request this Court:

               a. Enjoin Defendants from refusing to dispense opioid medication as prescribed when
                  presented with legitimate prescriptions from patients suffering from chronic pain or
                  pain associated with a cancer diagnosis, palliative or nursing home care or sickle cell
                  anemia;

               b. Enjoin Defendants from requiring that Plaintiff and the Class Members present
                  prescriptions for, and/or purchase, additional non-opioid prescription medication in
                  order to have their opioid prescriptions filled;

               c. Enjoin Defendants from making, and/or allowing to be made, the decision of whether
                  an opioid prescription is medically necessary by someone other than a medical doctor
                  licensed to practice medicine;

               d. Order Defendants to develop opioid policies, and train their employees, agents,
                  representatives, contractors and staff on such policies, that distinguish between acute
                  pain patients and patients suffering from High Impact chronic pain or pain associated
                  with a cancer diagnosis, palliative or nursing home care or sickle cell anemia;

               e. Order Defendants to produce and explain their use of all databases and data analytics
                  employed in connection with patients presenting prescriptions for opioid medication;

               f. Order Defendants to identify any Class Member who has been blacklisted, flagged or
                  otherwise included on a list or database as potentially abusing opioid medication and
                  clear the Class Member from such list or database;

               g. Order Defendants to pay Plaintiff’s and the Class’s reasonable attorney’s fees and
                  costs; and/or

               h. Order all other relief to which Plaintiff, and the Class Members, are justly entitled.


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                                                 COUNT II
                         Violation of Section 504 of the Rehabilitation Act of 1973
                                              (29 U.S.C. §794)

               115.   Plaintiff repeats, realleges and adopts all prior paragraphs as if fully set forth herein.

               116.   At all times relevant to this action, Section 504 of the Rehabilitation Act of 1973,

  29 U.S.C. §794, was in full force and effect in the United States.

               117.   The Rehabilitation Act forbids programs or activities receiving Federal financial

  assistance from, among other things, discriminating against otherwise qualified individuals with

  disabilities.

               118.   Plaintiff, and the Class Members, are qualified individuals with disabilities within

  the meaning of the Rehabilitation Act. As patients who require opioid pain medication exceeding

  the CDC Guideline dose and duration threshold, they have “a physical or mental impairment that

  substantially limits one or more major life activities.”

               119.   Defendants are subject to the Rehabilitation Act due to the fact that they receive

  Federal financial assistance from the United States Department of Health and Human Services,

  including Medicare provider payments from the centers for Medicare/Medicaid Services under

  Title XVIII, Part D of the Social Security Act, 42 U.S.C. §1395 et seq.

               120.   Defendants, through their discriminatory practices towards the Plaintiff and the

  Class Members, based upon their disabilities, have violated and continue to violate the

  Rehabilitation Act by, inter alia, denying disabled individuals, including Plaintiff and the Class

  Members, the full and equal goods, services, facilities, privileges, advantages or accommodations

  of their retail pharmacies throughout the United States.

               121.   The discriminatory actions of the Defendants alleged herein were undertaken solely

  on the basis of Plaintiff’s and the Class Members’ disabilities. Due to Defendants’ acts of



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  discrimination as alleged herein, Plaintiff and the Class Members have not been provided

  meaningful access to their life-sustaining medications.

               122.   Defendants’ conduct has harmed Plaintiff and the Class Members and will continue

  to harm Plaintiff and the Class Members unless and until Defendants are ordered by this Court to

  cease the following activities:

               a. Enjoin Defendants from refusing to dispense opioid medication as prescribed when
                  presented with legitimate prescriptions from patients suffering from chronic pain or
                  pain associated with a cancer diagnosis, palliative or nursing home care or sickle cell
                  anemia;

               b. Enjoin Defendants from requiring that Plaintiff and the Class Members present
                  prescriptions for, and/or purchase, additional non-opioid prescription medication in
                  order to have their opioid prescriptions filled;

               c. Enjoin Defendants from making, and/or allowing to be made, the decision of whether
                  an opioid prescription is medically necessary by someone other than a medical doctor
                  licensed to practice medicine;

               d. Order Defendants to develop opioid policies, and train their employees, agents,
                  representatives, contractors and staff on such policies, that distinguish between acute
                  pain patients and patients suffering from High Impact chronic pain or pain associated
                  with a cancer diagnosis, palliative or nursing home care or sickle cell anemia;

               e. Order Defendants to produce and explain their use of all databases and data analytics
                  employed in connection with patients presenting prescriptions for opioid medication;

               f. Order Defendants to identify any Class Member who has been blacklisted, flagged or
                  otherwise included on a list or database as potentially abusing opioid medication and
                  clear the Class Member from such list or database;

               g. Order Defendants to pay Plaintiff’s and the Class’s reasonable attorney’s fees and
                  costs; and/or

               h. Order all other relief to which Plaintiff, and the Class Members, are justly entitled.

               123.   Defendants’ conduct has caused recoverable damages to Plaintiff and the Class

  Members.




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                                                  COUNT III
                                     Violation of the Anti-Discrimination
                                    Provisions of the Affordable Care Act
                                                (42 U.S.C. §18116)
               124.   Plaintiff repeats, realleges and adopts all prior paragraphs as if fully set forth herein.

               125.   Section 1557 of the Patient Protection and Affordable Care Act (“ACA”) (codified

  at 42 U.S.C. §18116) was established to combat healthcare discrimination by any health program,

  healthcare entity, or activity that receives federal funding. This Act of Congress makes it illegal

  to discriminate against individuals based upon their race, national origin, gender, age, or disability.

  Section 1557 of the ACA protects individuals from discrimination in any health program or

  activity of a recipient of federal financial assistance, such as hospitals, clinics, employers, retail

  community pharmacies or insurance companies that receive federal money.                       Section 1557

  specifically extends its discrimination prohibition to entities that receive federal financial

  assistance in the form of contracts of insurance, credits, or subsidies, as well as any program or

  activity administered by an executive agency, including federal health programs like Medicare,

  Medicaid, and CHiP.

               126.   Recipients of Federal financial assistance, such as Defendants, are prohibited from

  providing “any service, financial aid, or other benefit to an individual which is different, or is

  provided in a different manner, from that provided to others under the program.” See 45 C.F.R.

  §80.3(a)(ii). Federal financial assistance has been interpreted and enforced to cover a broad range

  of programs receiving federal funds.

               127.   Defendants are subject to Section 1557 due to the fact that they receive Federal

  financial assistance from the United States Department of Health and Human Services, including

  Medicare provider payments from the centers for Medicare/Medicaid Services under Title XVIII,

  Part D of the Social Security Act, 42 U.S.C. §1395 et seq.


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               128.   Defendants meet the qualifications for being a “health program or activity, any part

  of which is receiving Federal financial assistance” under Section 1557(a).

               129.   Furthermore, Defendants represent that they are subject to Section 1557 of the

  ACA, and under that law:

               [C]omplies with applicable Federal Civil rights laws and does not discriminate on
               the basis of race, color, national origin, age, disability, or sex. CVS Pharmacy, Inc.
               does not exclude people or treat them differently because of race, color, national
               origin, age, disability or sex (emphasis added).

  (See https://www.cvs.com/bizcontent/general/CVS_Pharmacy_Nondiscrimination_Policy.pdf.)

               130.   Plaintiff and the Class Members are disabled under both the ADA and Section 504

  of the Rehabilitation Act.         The discriminatory actions of the Defendants alleged herein were

  undertaken solely on the basis of Plaintiff’s and the Class Members’ disabilities.                    Due to

  Defendants’ acts of discrimination alleged herein, Plaintiff and the Class Members have not been

  provided meaningful access to their life-sustaining medications.

               131.   Defendants’ actions have violated and continue to violate Section 1557(a) of the

  Affordable Care Act by intentionally causing Plaintiff and the Class Members to “be excluded

  from participation in, be denied the benefits or, or be subjected to discrimination under any health

  program or activity, any part of which is receiving Federal financial assistance” based on disability

  which is a prohibited ground of discrimination under Title IX.

               132.   Plaintiff and the Class Members have suffered damages by this violation of Section

  1557(a) in the denial of access to necessary medical care and/or services including, though not

  limited to, the filing and receipt of their valid opioid prescription medication.

               133.   Plaintiff and the Class Members request Declaratory and injunctive relief to protect

  their rights under Section 1557(a), and to remedy the Defendants’ continued violation of Section

  1557(a).


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               134.   Plaintiff and the Class Members have been harmed as a result of Defendants’

  conduct and are entitled to compensatory damages, attorneys’ fees and costs, and all other

  additional appropriate relief as may be available under this cause of action and the applicable law.

                                                       IX.

                                               JURY DEMAND

               135.   Plaintiff and the Class Members request a jury trial on all issues triable by a jury.

                                                        X.

                                             PRAYER FOR RELIEF

        WHEREFORE, Plaintiff, on behalf of herself and the members of the class she represents,

  prays for:

        1. An Order certifying the class proposed by Plaintiff, naming Plaintiff as class representative,

               and appointing her counsel as class counsel;

        2. A declaratory judgment that Defendants are in violation of the ADA, the ACA and the

               Rehabilitation Act of 1973;

        3. Injunctive relief as prayed for herein;

        4. An award of compensatory damages, pursuant to 42 U.S.C. §18116, to Plaintiff and the

               Class Members in an amount determined by the jury that would fully compensate them for

               the injuries by Defendants’ discriminatory conduct;

        5. An award of punitive damages, pursuant to 42 U.S.C. §18116, to Plaintiff and the Class

               Members in an amount determined by the jury, but no less than three times the amount of

               actual damages, that would punish Defendants for the intentional, willful, wanton, and

               reckless discriminatory behavior;

        6. Payment of costs of suit;



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        7. Payment of reasonable attorneys’ fees; and,

        8. All other relief to which Plaintiff, and the class she represents, are justly entitled as a matter

               of law or equity.

                                                        Respectfully Submitted,
                                                        By their Attorneys,

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                                                        similarly situated




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                                     CERTIFICATE OF SERVICE

        I certify that on October 22, 2021 this document was filed electronically and is available for

  viewing and downloading from the court’s CM/ECF system, and that all parties will receive

  notice through the CM/ECF system.

                                                         /s/Stephen M. Prignano




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